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Patrick J. Geile
Foley Freeman PLLC
953 S. Industry Way
P.O. Box 10
Meridian, Idaho 83680
Tel: 208-888-9111
Fax: 208-888-5130
pgeile@foleyfreeman.com
Idaho State Bar No. 6975
_____________________________________________________________________________________________

                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

KARRIE NAVARRO,                               )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )      No.
                                              )
NATIONAL CREDIT ADJUSTERS, LLC,               )
                                              )
       Defendants.                            )

                               PLAINTIFF’S COMPLAINT

       Plaintiff, KARRIE NAVARRO (“Plaintiff”), through her attorney, Foley Freeman PLLC,

alleges the following against Defendant, NATIONAL CREDIT ADJUSTERS, LLC

(“Defendant”).

                                    INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692

       et seq. (“FDCPA”).

                              JURISDICTION AND VENUE

   2. This Court has jurisdiction under 28 U.S.C. §1331 and 15 U.S.C. §1692k of the FDCPA.




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3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

   actions may be brought and heard before “any appropriate United States district court

   without regard to the amount in controversy.”

4. Venue and personal jurisdiction in this District are proper because Defendant does or

   transacts business within this District, and a material portion of the events at issue occurred

   in this District.

                                        PARTIES

5. Plaintiff is an individual who resides in Nampa, Canyon County, Idaho.

6. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).

7. Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

9. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

10. Defendant is a collection agency headquartered in Hutchinson, Kansas.

11. Defendant is a business entity engaged in debt collection in Idaho.

12. The principal purpose of Defendant’s business is the collection of debts allegedly owed to

   third parties.

13. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

14. During the course of its attempts to collect debts allegedly owed to third parties, Defendant

   sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or

   electronic mail, and initiates contact with alleged debtors via various means of

   telecommunication, such as by telephone and facsimile.

15. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
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                               FACTUAL ALLEGATIONS

16. Defendant is attempting to collect a consumer debt from Plaintiff, originating with Ace

    Cash, which Plaintiff does not owe.

17. Plaintiff’s alleged debt owed arises from transactions for personal, family, and household

    purposes.

18. Within in the last year, Defendant was hired to collect on Plaintiff’s alleged debt.

19. As part of its collection efforts, Defendant placed collection calls to Plaintiff on Plaintiff’s

    cell phone, ending in 8953.

20. Defendant calls Plaintiff from the following telephone numbers: 208-297-7569, 208-297-

    7577, and 208-297-7531.

21. The following telephone numbers are Defendant’s telephone numbers: 208-297-7569,

    208-297-7577, and 208-297-7531.

22. Within the last year, Plaintiff spoke with Defendant’s collectors

23. On at least one occasion within the last year, Defendant told Plaintiff that if Plaintiff did

    not pay the alleged debt, Defendant would sue her.

24. The last payment Plaintiff made on this alleged debt with Ace Cash was in 2008.

25. If the debt is owed at all, the statute of limitations has passed.

26. The statute of limitations on a written contract in Idaho is five (5) years.

27. Defendant is attempting to collect on a debt on which the statute of limitations has expired.

28. At no point did Defendant disclose that the debt was time-barred by the statute of

    limitations.

29. A no point did Defendant disclose the date of the transaction(s) giving rise to the claimed

    debt.
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30. It is the policy and practice of Defendant to seek to collect time-barred debts without

   disclosing the fact that they are time-barred.

31. It is the policy and practice of Defendant to seek to collect time-barred debts without

   disclosing the dates of the transaction(s) giving rise to the debts.

32. The Federal Trade Commission has determined that “Most consumers do not know their

   legal rights with respect to collection of old debts past the statute of limitations . . . When

   a collector tells a consumer that she owes money and demands payment, it may create the

   misleading impression that the collector can sue the consumer in court to collect that debt.”

   (http://www.ftc.gov/opa/2012/01/asset.shtm). The FTC entered into a consent decree with

   Asset Acceptance, one of the largest debt buyers in the United States, requiring that it

   disclose to consumers when it is attempting to collect debts that are barred by the statute

   of limitations. United States of America (For the Federal Trade Commission) v. Asset

   Acceptance, LLC, Case No. 8:12-cv-182-T-27EAJ (M.D.Fla.).

33. On at least on occasion within the last year, Plaintiff informed Defendant that she did not

   owe the alleged debt as she had previously settled it.

34. Despite this, Defendant continued to place collection calls to Plaintiff in an attempt to

   collect on a debt that is not owed.

35. On at least on occasion within the last year, Plaintiff requested that Defendant stop calling

   her.

36. Despite this, Defendant continued to place collection calls to Plaintiff in an attempt to

   collect on a debt that is not owed.

37. Since Defendant began calling Plaintiff’s telephone number, Defendant has placed calls

   to Plaintiff’s telephone number at an excessive rate, sometimes calling up to 4 times a day.
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38. The natural consequences of Defendant’s statements and actions was to unjustly condemn

   and vilify Plaintiff for her non-payment of a debt Plaintiff no longer owes.

39. The natural consequences of Defendant’s statements and actions was to produce an

   unpleasant and/or hostile situation between Defendant and Plaintiff.

40. The natural consequences of Defendant’s statements and actions was to cause Plaintiff

   mental distress.

41. Defendant used unfair and unconscionable means to collect on Plaintiff’s alleged debt, by

   threatening to sue Plaintiff on a debt that she already settled and no longer owed.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

42. Defendant violated the FDCPA based on the following:

       a. Defendant violated § 1692d of the FDCPA by engaging in conduct that the natural

           consequence of which was to harass, oppress, and abuse Plaintiff in connection

           with the collection of an alleged debt, when Defendant continued to place

           collection calls to Plaintiff after Plaintiff stated that she did not owe the debt and

           requested Defendant to stop calling and when Defendant placed an excessive

           amount of calls to Plaintiff’s cellular telephone;

       b. Defendant violated § 1692d(5) of the FDCPA by causing a telephone to ring or

           engaging any person in telephone conversation repeatedly or continuously with

           intent to annoy, abuse, or harass any person at the called number, when Defendant

           continued to place collection calls to Plaintiff after Plaintiff stated that she did not

           owe the debt and requested Defendant to stop calling and when Defendant placed

           an excessive amount of calls to Plaintiff’s cellular telephone;

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c. Defendant violated §1692e of the FDCPA by using false, deceptive, or misleading

   representations or means in connection with the collection of a debt, when

   Defendant attempted to collect a debt from Plaintiff that Plaintiff no longer owes

   and even if it is owed, that is past the statute of limitations without disclosing to

   Plaintiff that the debt was past the statute of limitations;

d. Defendant violated §1692e(2) of the FDCPA by falsely representing the legal

   status of any debt, when Defendant attempted to collect a debt from Plaintiff that

   Plaintiff no longer owes and even if it is owed, that is past the statute of limitations

   without disclosing to Plaintiff that the debt was past the statute of limitations;

e. Defendant violated §1692e(2) of the FDCPA by threatening to take any action that

   cannot be legally taken or that is not intended to be taken, when Defendant

   threatened it would sue Plaintiff is she did not pay a debt that Plaintiff no longer

   owes;

f. Defendant violated §1692e(10) of the FDCPA by using false representations or

   deceptive means in connection with the collection the alleged debt, when

   Defendant attempted to collect a debt from Plaintiff that Plaintiff no longer owes

   and even if it is owed, that is past the statute of limitations without disclosing to

   Plaintiff that the debt was past the statute of limitations;

g. Defendant violated §1692(f) of the FDCPA by using unfair or unconscionable

   means in connection with the collection of an alleged debt, when Defendant

   attempted to collect a debt from Plaintiff that Plaintiff no longer owes and even if

   it is owed, that is past the statute of limitations without disclosing to Plaintiff that

   the debt was past the statute of limitations;
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          h. Defendant violated § 1692g(a)(3) of the FDCPA by ignoring Plaintiff’s oral

              dispute of the validity of the alleged debt and continuing to assume the validity of

              the alleged debt when Defendant continued to bombard Plaintiff with collection

              calls after Plaintiff orally disputed owing the debt; and

          i. Defendant violated § 1692g(b) of the FDCPA by engaging in collection activities

              and communication during the time period prescribed in § 1692g(a) and (b) that

              overshadowed or was inconsistent with the disclosure of the consumer’s right to

              dispute the debt when Defendant continued bombard Plaintiff with collection calls

              after Plaintiff orally disputed owing the debt.

       WHEREFORE, Plaintiff, KARRIE NAVARRO, respectfully requests judgment be entered

against Defendant, NATIONAL CREDIT ADJUSTERS, LLC, for the following:

   43. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k.

   44. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k.

   45. Any other relief that this Honorable Court deems appropriate.


                                     RESPECTFULLY SUBMITTED,

January 30, 2018                     By: /s/ Patrick J. Geile__________________
                                             Patrick J. Geile
                                             Foley Freeman PLLC
                                             953 S. Industry Way
                                             P.O. Box 10
                                             Meridian, Idaho 83680
                                             Tel: 208-888-9111
                                             Fax: 208-888-5130
                                             pgeile@foleyfreeman.com
                                             Idaho State Bar No. 6975
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